Case 2:04-cV-02423-dkv Document 12 Filed 05/12/05 Page 1 of 2 Page|D 24

I"N THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENN'ESSEE
WESTERN DIVISION

 

 

SECURITY INSURANCE COMPANY OF HARTFORD,
Plaintiff,

vs. No, 04-2423 Ml V

ALLEN & HOSHALL, INC.,

Defendant.

ORDER GRANTING MOTION TO RESET TRIAL DATE

Upon motion ofDefendant, Allen & Hoshall, Inc. (“A&H”), filed on May ll, 2005, as

there is no objection by counsel and for good cause shown, this Court GRANTS the Motion to

Reset Trial Date and ORDERS that the trial date, currently set for August l, 2005, be and the

same will hereby be reset

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so oRDERED this /o'l day ofMay, 2005_
V<OL/La/»Uz, z H/M//f
UNITED sTATES MAGISTRATE JUDGE

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Datedthis /<5? day OfMay,zoos.

H.\SHB\Allen and Hoshall\Drder on Moncm to Reset Trial Dale.wpd

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:04-CV-02423 Was distributed by faX, mail, or direct printing on

May 13, 2005 to the parties listed.

 

.1 efferson C. Orr

SMITH & CASH[ON
424 Church St.

Ste. 1200

Nashville, TN 37219--230

Stephen H. Biller

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/lemphis7 TN 38120

Honorable Diane Vescovo
US DISTRICT COURT

